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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF OHIO
                                      EASTERN DIVISION



    IN RE NATIONAL PRESCRIPTION                             MDL No. 2804
    OPIATE LITIGATION
                                                            Case No. 17-md-2804
    This document relates to:
                                                            Hon. Dan Aaron Polster
    “Track One Cases”




             DECLARATION OF JENNIFER S. PANTINA IN SUPPORT OF
          MALLINCKRODT’S MOTION FOR PARTIAL SUMMARY JUDGMENT

I, Jennifer S. Pantina, declare as follows:

          1.      I am an attorney at the law firm of Ropes & Gray LLP and counsel to Defendants

Mallinckrodt LLC, SpecGx LLC, and Mallinckrodt plc1 (“Mallinckrodt”).

          2.      I make this declaration on behalf of Mallinckrodt in support of Mallinckrodt’s

Motion for Partial Summary Judgment.

          3.      Attached as Exhibit 1 is a true and correct copy of a report generated in response

to Plaintiffs’ discovery requests, showing Schedule II opioid products that Mallinckrodt sold or

shipped into the Track One jurisdictions from 1996 to 2017, at Bates begin number MNK-

T1_0001820275.

          4.      Attached as Exhibit 2 is a true and correct copy of a report showing Schedule II

opioid products that Mallinckrodt sold nationwide, at Bates begin number MNK-T1_0007897646.




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 Mallinckrodt plc is an Irish company that is not subject to and contests personal jurisdiction for the reasons
explained in its pending motion to dismiss for lack of personal jurisdiction; it is specially appearing to join this
motion as a result of the Court’s deadline to file dispositive and Daubert motions, and, thus, it does not waive and
expressly preserves its pending personal jurisdiction challenge.
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       5.      Attached as Exhibit 3 is a true and correct copy of excerpts from the report of

Meredith Rosenthal, dated March 25, 2019.

       6.      Attached as Exhibit 4 is a true and correct copy of excerpts from the deposition

of Ginger Collier, dated January 8, 2019.

       7.      Attached as Exhibit 5 is a true and correct copy of excerpts from the deposition

of Matthew Perri, III, dated April 24, 2019.

       8.      Attached as Exhibit 6 is a true and correct copy of excerpts from the deposition

of Kevin Vorderstrasse, dated December 5, 2018.

       9.      Attached as Exhibit 7 is a true and correct copy of Summit County’s

Supplemental Response to Manufacturer Defendants’ Interrogatory 27, dated July 5, 2018.

       10.     Attached as Exhibit 8 is a true and correct copy of Cuyahoga County’s

Supplemental Response to Manufacturer Defendants’ Interrogatory 28, dated July 5, 2018.

       11.     Attached as Exhibit 9 is a true and correct copy of excerpts from the deposition

of James E. Rafalski, dated May 14, 2019.

       12.     Attached as Exhibit 10 is a true and correct copy of excerpts from the deposition

of Karen Harper, dated January 15, 2019.

       13.     Attached as Exhibit 11 is a true and correct copy of excerpts from the deposition

of Seth B. Whitelaw, dated May 17, 2019.

       14.     Attached as Exhibit 12 is a true and correct copy of excerpts from the deposition

of John Gillies, dated February 7, 2019.

       15.     Attached as Exhibit 13 is a true and correct copy of a November 1, 2010 letter

from Mallinckrodt to the DEA St. Louis Division Office, at Bates begin number MNK-

T1_0000373856.



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       16.    Attached as Exhibit 14 is a true and correct copy of a November 1, 2010 letter

from Mallinckrodt to the DEA Albany Division Office, at Bates begin number MNK-

T1_0000288483.

       17.    Attached as Exhibit 15 is a true and correct copy of Karen Harper’s notes from a

November 1, 2010 meeting at the DEA St. Louis Division Office, at Bates begin number MNK-

T1_0000421974.

       I declare under penalty of perjury that the foregoing is true and correct to the best of my

knowledge, information, and belief.




Executed this 28th day of June, 2019.


                                                      /s/ Jennifer S. Pantina
                                                      Jennifer S. Pantina
                                                      ROPES & GRAY LLP
                                                      Prudential Tower
                                                      800 Boylston Street
                                                      Boston, MA 02199-3600
                                                      (617) 951-7320


                                                      Attorney for Defendants Mallinckrodt LLC
                                                      and SpecGx LLC, and appearing specially
                                                      for Mallinckrodt plc




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                                 CERTIFICATE OF SERVICE

       I, Brien T. O’Connor, hereby certify that the foregoing document was served via file

transfer protocol to all counsel of record.




                                                    /s/ Brien T. O’Connor
                                                    Brien T. O’Connor




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